Case 2:03-cv-02528-.]PI\/|-STA Document 36 Filed 04/27/05 Page 1 of 2 Page|D 50

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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BRUCE CARD,

Plaintiff,
v. No. 03-2528 Ml/An
AMISUB (SFH), INC. d/b/a
ST. FRANCIS HOSPITAL and
B. LAWSON, M.S.,

Defendants.

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ORDER DENYING MOTION FOR EXTENSION OF TIME FOR WRITTEN DISCOVERY
AS MOOT

 

Before the Court is Plaintiff's motion for an extension of
time for Written discovery, filed February l, 2005. Because the
time period relevant to the motion has since elapsed, the Court

DENIES the motion as moot.1

SO ORDERED this )2Q9 day of April, WZ

t//Y)i/W

P. MCCALLA
OITED STATES DISTRICT JUDGE

 

l The Court notes, however, that Plaintiff showed good cause

in the motion for an extension of time. Accordingly, Plaintiff
may file a motion With the Court if additional time is necessary
to complete written discovery.

This document entered on the docket Sheet in compliance
with emg 53 amd/or maj FHCP on 'Z' t

 

 

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This notice confirms a copy of the document docketed as number 36 in
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Honorable J on McCalla
US DISTRICT COURT

